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                                                                  FILED: August 3, 2016


                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT


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                                         No. 16-1270 (L)
                                        (5:15-cv-00156-D)
                                      ___________________

         RALEIGH WAKE CITIZENS ASSOCIATION; JANNET B. BARNES;
         BEVERLEY S. CLARK; WILLIAM B. CLIFFORD; BRIAN FITZSIMMONS;
         GREG FLYNN; DUSTIN MATTHEW INGALLS; AMY T. LEE; ERWIN
         PORTMAN; SUSAN PORTMAN; JANE ROGERS; BARBARA
         VANDENBERGH; JOHN G. VANDENBERGH; AMYGAYLE L. WOMBLE;
         PERRY WOODS

                     Plaintiffs - Appellants

         v.

         WAKE COUNTY BOARD OF ELECTIONS

                     Defendant - Appellee

         and

         CHAD BAREFOOT, in his official capacity as Senator and primary sponsor of SB
         181; PHILLIP E. BERGER, in his official capacity as President Pro Tempore of
         the North Carolina Senate; TIM MOORE, in his official capacity as Speaker of the
         North Carolina House of Representatives

                     Defendants




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                                               No. 16-1271
                                            (5:13-cv-00607-D)
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         CALLA WRIGHT; WILLIE J. BETHEL; AMY T. LEE; AMYGAYLE L.
         WOMBLE; JOHN G. VANDENBERGH; BARBARA VANDENBERGH;
         AJAMU G. DILLAHUNT; ELAINE E. DILLAHUNT; LUCINDA H.
         MACKETHAN; WILLIAM B. CLIFFORD; ANN LONG CAMPBELL; GREG
         FLYNN; BEVERLEY S. CLARK; CONCERNED CITIZENS FOR AFRICAN-
         AMERICAN CHILDREN, d/b/a Coalition of Concerned Citizens for African-
         American Children; RALEIGH WAKE CITIZENS ASSOCIATION

                         Plaintiffs - Appellants

         v.
         WAKE COUNTY BOARD OF ELECTIONS

                         Defendants - Appellees

         STATE OF NORTH CAROLINA

                         Defendant

                                          ___________________

                                             MANDATE
                                          ___________________

                  The judgment of this court, entered July 1, 2016, takes effect today.

                  This constitutes the formal mandate of this court issued pursuant to Rule

        41(a) of the Federal Rules of Appellate Procedure.


                                                                      /s/Patricia S. Connor, Clerk



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